Case 9:22-mj-08332-BER Document 167-3 Entered on FLSD Docket 07/25/2023 Page 1 of 4




                             Exhibit C
Case
 Case9:22-mj-08332-BER
       9:22-mj-08332-BER Document
                          Document167-3
                                   159 *SEALED*
                                        Entered on Entered
                                                   FLSD Docket
                                                           on FLSD
                                                                07/25/2023
                                                                    Docket 07/10/2023
                                                                            Page 2 of 4
                                     Page 1 of 3



                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                               CASE NO. 22-MJ-8332-BER


   IN RE: SEALED SEARCH WARRANT

   __________________________________________/

     SEALED ORDER ON MOTION FOR RECONSIDERATION [ECF NO. 158]

         The United States moves ex parte and under seal for reconsideration of the

   part of the July 5 order that unseals docket entry 147 (“the Unsealing Order”). As

   described in the Unsealing Order, docket entry 147 grants the United States’ request

   to partially unseal materials for the limited purpose of allowing the Government to

   provide those materials as discovery in case number 23-CR-80101-AMC. The

   Unsealing Order is currently stayed.

         In is reconsideration motion, the Government argues that docket entry 147

   should remain sealed because it reveals the existence of eight search warrants, only

   one of which has been publicly disclosed. As the Government concedes, the materials

   connected to these eight warrants remain sealed from the public. The only portions

   of docket entry 147 that make any disclosures about searches are (1) the case caption

   is “In The Matter Of The Search Of The Premises, Devices, And Accounts Identified

   In Attachment A,” (2) the phrase “the above-captioned search warrants, supporting

   affidavits, and accompanying documents” is used in the body of the order, and (3) the

   document header lists eight case numbers from this Court’s docket. This content

   discloses to the public only that the Government wants to provide discovery in case
Case
 Case9:22-mj-08332-BER
       9:22-mj-08332-BER Document
                          Document167-3
                                   159 *SEALED*
                                        Entered on Entered
                                                   FLSD Docket
                                                           on FLSD
                                                                07/25/2023
                                                                    Docket 07/10/2023
                                                                            Page 3 of 4
                                     Page 2 of 3



   23-CR-80101-AMC arising from searches of undisclosed locations, that were based on

   unidentified facts, looking for unspecified evidence, in furtherance of investigation(s)

   of unnamed people.

         The Government argues that the interests of justice require continued sealing

   because even the disclosure of this ambiguous information will harm ongoing

   investigations. First, the Government says that




         The Government next claims that, although the affidavits and other materials

   relating to these warrants are under seal, “the risk of disclosure increases with each

   unsealing.” ECF No. 158 at 2. There is no evidence offered to support this argument,

   nor is it self-evident why unsealing docket entry 147 would increase the risk that the

   content of other sealed materials will be disclosed improperly.

         Finally, the Government argues that unsealing docket entry 147 would

   disclose investigative steps that have not otherwise been made public. That

   statement is true, but that fact alone is not enough to justify sealing. As discussed

   above, unsealing would disclose that other searches have occurred, but would not

   disclose investigative sources or the direction and scope of any investigation(s). Even

   accepting the Government’s argument that public disclosure of this minimal

                                              2
Case
 Case9:22-mj-08332-BER
       9:22-mj-08332-BER Document
                          Document167-3
                                   159 *SEALED*
                                        Entered on Entered
                                                   FLSD Docket
                                                           on FLSD
                                                                07/25/2023
                                                                    Docket 07/10/2023
                                                                            Page 4 of 4
                                     Page 3 of 3



   information will have some negative effect on ongoing or future investigations, docket

   entry 147 can remain sealed only if this potential harm to the Government is

   sufficiently compelling to overcome the public's right of access. See In re Sealed

   Search Warrant, 622 F. Supp. 3d 1257 (S.D. Fla. 2022). For the reasons stated above,

   the Government has not met its burden of showing that the asserted risks to its

   investigation(s) is such a compelling interest.

         WHEREFORE, it is ORDERED that:

         1. The Motion to Seal (ECF No. 157) is GRANTED. Docket entries 157 and

             158 shall be SEALED pending further Court order.

         2. The Government’s Motion for Reconsideration is DENIED.

         3. This Order shall be SEALED pending further Court order.

         4. The deadline for the Government to file a notice stating whether it intends

             to appeal the unsealing of docket entry 147 is extended to July 17, 2023, at

             5:00 p.m. Eastern time.

         DONE and ORDERED in Chambers this 10th day of July, 2023, at West

   Palm Beach in the Southern District of Florida.




                                           ____________________________________
                                           BRUCE E. REINHART
                                           UNITED STATES MAGISTRATE JUDGE




                                              3
